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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

            Plaintiff,
v.                                           ORDER
                                             Criminal No. 10‐187
Amina Farah Ali,

           Defendant.
__________________________________________________________________

       Jeffrey S. Paulsen, Assistant United States Attorney, and Steven Ward,
Trial Attorney, U.S. Department of Justice, counsel for Plaintiff.

      Daniel M. Scott, Kelley, Wolter & Scott, P.A., counsel for Defendant Amina
Farah Ali.
__________________________________________________________________

I.    Summary

      There is a long‐standing tradition in the court system which requires all

participants to stand when the Court is called to Order or called in Recess

(referred to herein as the “rising requirement”). The function of the rising

requirement is to mark the beginning and the end of the court sessions, to show

respect for the court system, to assist judges in maintaining order, and to remind

all that attention should be paid to the court proceedings.




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      The Defendant has refused to comply with the rising requirement, stating

that her religious beliefs prohibit such compliance. While freedom of religion is a

protected right under the First Amendment, the Defendant has not demonstrated

to the Court that her First Amendment rights take precedence over the rising

requirement, especially in light of the fact that she is exercising such right

inconsistently. Evidently, the Defendant’s professed religious beliefs did not

prevent her from standing when she was introduced to the prospective jurors.

Accordingly, the Court finds that Defendant Ali’s failure to rise when Court is

called constitutes criminal contempt.

II.   Background

      On September 30, 2011, the Court issued an Order [Doc. No. 130] requiring

all parties to follow the Court’s Rules of Decorum, and that such Rules require

the parties to stand when Court is called to Order. The Order further provided

that any party failing to comply would face sanctions.

      On October 3, 2011, the trial in the above‐matter commenced, and

Defendant Ali did not stand when Court was called to Order. The Court

inquired of the Defendant whether she was aware of the prior Order requiring

her to stand, and that her failure to stand would result in her being taken into


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custody and to potentially face further sanctions. The Defendant responded that

she was aware of the Court’s Order, but that she was refusing to stand based on

religious reasons. The Court nonetheless gave the Defendant the opportunity to

consider the consequences of her conduct, and a brief recess was called.

      When the proceedings resumed and the Court was again called to Order,

the Defendant again refused to stand.

      The Court was called to Order a third time, at which time the prospective

jurors were present in the courtroom. The Defendant again failed to stand when

Court was called to Order. When the Defendant was identified for the

prospective jurors, however, she immediately stood when her name was called.

      Finally, the Court notes that on each occasion when Court was recessed,

Defendant Ali again refused to rise as the Court left the courtroom.

      At the lunch recess, the Court inquired of the Defendant again as to

whether she understood the Court’s prior Order requiring her to stand. The

Defendant again stated that she understood the Court’s Order, and that her

refusal to stand was based on her religious beliefs, and that she would continue

to refuse to stand, despite the Court’s warning that her pretrial release would be

revoked and that she would be held in criminal contempt for her continued


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failure to rise for the Court and the jury.

      A.     Criminal Contempt

      A court of the United States shall have power to punish by fine or
      imprisonment, or both, at its discretion, such contempt of its authority, and
      none other, as‐‐

             (1) Misbehavior of any person in its presence or so near thereto as to
             obstruct the administration of justice;

             (2) Misbehavior of any of its officers in their official transactions;

             (3) Disobedience or resistance to its lawful writ, process, order, rule,
             decree, or command.

18 U.S.C. § 401. In addition, where a person commits criminal contempt in the

Court’s presence, the Court may summarily punish the person if the judge saw or

heard the contemptuous conduct, and so certifies. Fed. R. Crim. Proc. 42(b).

      Failure to rise when the judge or jury entered the courtroom has been

found to constitute criminal contempt, even where the defendant had claimed

that his refusal to stand was based on his religious beliefs. In re Chase, 468 F.2d

128 (7th Cir. 1972). See also Evans v. Ciccone, 377 F.2d 4, 6 (8th Cir. 1967)

(finding that freedom of religion cannot be made superior to reasonable rules of

conduct, in or out of prison).

      In In re Chase, the defendant had argued that failure to rise does not


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constitute misbehavior obstructing the administration of justice. Id. 468 F.2d at

131‐32. The Seventh Circuit rejected this argument, finding that the “rising

‘requirement is sufficiently related to maintaining order in the actual presence of

the court, so that an infraction can be dealt with summarily under Rule 42(a)’”.

Id. The court further noted that

      the traditional rising in unison of persons present in a court can reasonably
      be thought to contribute to the functioning of the court. It is a way of
      marking the beginning and end of the session, and probably serves to
      remind all that attention must be concentrated upon the business before
      the court, the judge’s control of the court room must be maintained with as
      little burden on him as possible, and there must be silence, except as the
      orderly conduct of business calls for speech.

Id. (quoting United States ex rel. Robson v. Malone, 412 F.2d 848, 850 (7th Cir.

1969)). Finally, the court recognized that the rising requirement is a long‐

standing tradition, to show respect for the court as well as its functional

justification, such that “refusal to abide by it may be viewed as not insignificant

misbehavior.” Id. at 133.

      Here, the Court inquired of the Defendant multiple times whether she was

aware of the September 30, 2011 Order requiring her to stand, and whether she

understood the Order. The Court also informed the Defendant that she would

face consequences if she refused to stand as Ordered. The Defendant informed


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the Court that she was aware of the September 30, 2011 Order, and that she

understood the Order, and that she would not rise for the Court or the jury,

pursuant to her religious beliefs. Evidently, the Defendant’s professed religious

beliefs did not prevent her from standing when she was introduced to the

prospective jurors.

      The Court hereby certifies that Defendant Ali committed criminal

contempt in the Court’s presence when she failed to rise, on multiple occasions,

when Court was called to Order and recessed on October 3, 2011. At the end of

the day, the Court will determine the appropriate punishment for each finding of

contempt.

      B.    Revocation of Release

      On August 5, 2010, Defendant Ali was released pending trial, subject to

certain conditions, including that the Defendant Ali not violate any federal, state

or local law. As Defendant Ali has violated 18 U.S.C. § 401 by failing to rise

when Court is called to Order, the Court hereby revokes release. Defendant Ali

is hereby detained until further Order of this Court.

      IT IS HEREBY ORDERED:

      1.    Defendant Ali is held in criminal contempt for failing to rise when


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           Court is called to Order and recessed on October 3, 2011; and

     2.    The Order Setting Conditions of Release [Doc. No. 13] is REVOKED.

           Defendant Ali shall be detained pending further Order of the Court.

Date: October 3, 2011

                                    s/ Michael J. Davis
                                    Michael J. Davis
                                    Chief Judge
                                    United States District Court




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